Before the passing of the act of limitations actions might have been brought at any indefinite distance of time after they have accrued. This was the mischief intended to be remedied by that act. But all actions not included within its operation remain in the same situation as before its passage, in which class it is apprehended the present action (namely, an action of debt upon a promissory note, not under seal) is included; for the act, in enumerating many actions, speaks only of actions of debt for arrearages of rent.
It is true, and it may appear a little strange, that a demand upon a single contract should be barred, when an action on the case is brought upon it and not barred, when sued for in an action of debt. Be that as it may, the remedy was with the Legislature, and they have so passed the law as to make it apply to the form and not to the subject-matter of the action. *Page 103 
Although our act of Assembly is nearly a copy of the English statute passed in the reign of James I., yet in this respect it is very different. That statute bars "all actions of debt grounded upon any lending or contract without specialty," which words, if used in our act, would certainly bar the present action. But our act only speaks (as before observed) of actions of debt for arrearages of rent.
Of course, we must pronounce that the demurrer shall be      (130) sustained.
NOTE. — The action of debt on a promissory note, or upon any contract without specialty, is now barred by the act of 1814 (1 Rev. Stat., ch. 65, sec. 3) after three years.
Cited: Governor v. McAfee, 13 N.C. 15; Phifer v. Giles, ib., 498.